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                              UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  TROYCE MANASSA, individually and on
  behalf of all others similarly situated,

                    Plaintiff,

          v.
                                                        Case No. 1:20-cv-03172-RLY-MJD
  NATIONAL COLLEGIATE ATHLETIC
  ASSOCIATION,

                        Defendant.

                   JOINT REPORT ON THE STATUS OF DISCOVERY

        Pursuant to the Court’s October 4, 2021, Scheduling Order (Dkt. No. 47) and April 13,

 2022, Minute Entry (Dkt. No. 91), the parties jointly submit the following Joint Report on the

 Status of Discovery.

 1. A detailed description of all discovery completed within the preceding 28 days.

 Plaintiff:

        N/A

 The NCAA:

        On April 1, 2022, the NCAA made a supplemental document production containing 1,265

 documents totaling 10,064 pages of documents. On April 15, 2022, the NCAA made a

 supplemental document production containing 3,858 documents totaling 19,167 pages of

 documents.

 2. A detailed description of all discovery presently scheduled or pending, including the due
    dates for any pending discovery requests and the scheduled dates for any depositions,
    and the identity of the counsel responsible for completing such discovery.




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 Plaintiff:

        Plaintiff’s response to Defendant’s Third Request for Production of Documents was due

 on May 2, 2022. Defendant granted Plaintiff’s request for an extension to respond to May 16,

 2022. Attorneys Beth Fegan, Je Yon Jung, Melissa Clark, LaRuby May, and Brooke Achua are

 responsible for completing this discovery.

        The parties are negotiating extensions of the case deadlines provided in the current Case

 Management Order and intend to present a joint submission to the court requesting its entry of

 agreed on deadlines in the very near future.



 The NCAA:

        The NCAA served a subpoena on Savannah State University and is awaiting a formal

 response and document production from the university.

        The NCAA requests an update on the status of the subpoenas that Plaintiff served on

 Howard University and Southern University, as the NCAA does not know whether either entity

 responded to the subpoenas, or produced documents.

        The NCAA agreed to Plaintiff’s request for a two-week extension of time to respond to

 Plaintiff’s Third Set of Requests for Production, extending this deadline through May 16, 2022.

        The NCAA recently learned of a significant conflict of interest issue with Plaintiff’s

 counsel FeganScott, which is summarized in section 3 below. Resolution of this conflict of interest

 issue impacts the timing of the NCAA’s subsequent document productions.

        The parties are negotiating extensions of the case deadlines provided in the current Case

 Management Order, and intend to present a joint submission to the court requesting its entry of

 agreed on deadlines.



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        The current conflict of interest issue impacts the timeline of the NCAA’s next document

 productions. That said, the NCAA is still making diligently progress towards completing its rolling

 document productions, given the large volume of data involved in responding to Plaintiff’s

 comprehensive document requests. The technology assisted review platform (“TAR”) that the

 NCAA is using to assist in its document production has begun active learning within the

 voluminous universe of collected documents. The NCAA anticipates that active learning will

 expedite the review and production of its remaining collected documents. The parties have been

 working diligently and cooperatively in this process. The NCAA’s counsel, Chisara Ezie-

 Boncoeur, Brian Casey, and Alicia Raines Barrs are responsible.

 3. A detailed description of any discovery disputes presently pending, including the status
    of the resolution of the dispute and the identity of the counsel responsible for resolving
    the dispute.

 Plaintiff:

        The Parties participated in an informal discovery conference with Magistrate Judge

 Dinsmore on April 22, 2022, regarding Defendant’s production of documents related to all

 academic requirement programs and/or predecessor programs. The parties conducted a final meet

 and confer meeting on April 26, 2022, and were unable to resolve the issue. Accordingly, Plaintiffs

 will file a motion to compel in the next few weeks. Attorneys Beth Fegan, Je Yon Jung, Melissa

 Clark, LaRuby May, and Brooke Achua are responsible for completing this discovery.

        With respect to the “conflict of interest” issue raised by Defendant. FeganScott is prepared

 to address the alleged conflict of interest at the upcoming conference. FeganScott does not believe

 a conflict exists that precludes their involvement in this case. In any event, NCAA may continue

 to produce documents to May Lightfoot PLLC, and FeganScott agrees to not review any such




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 documents until this issue is resolved. Attorneys Beth Fegan, Melissa Clark, and Brooke Achua

 are responsible for this matter.



 The NCAA:

        The NCAA recently learned that Plaintiff’s counsel FeganScott has a significant conflict

 of interest that directly impacts this lawsuit, and has existed during discovery. Given the sensitive

 nature of this topic, the NCAA intends to discuss this conflict of interest and its ramifications in

 further detail at the upcoming conference. As a precautionary measure, the NCAA has paused its

 document production until resolution of this conflict of interest.

        Plaintiff intends to file a motion to compel discovery unrelated to the actual NCAA

 academic program that Plaintiff’s claims and alleged harm are based on. Once the motion is filed,

 the NCAA will respond, and may request the imposition of a briefing schedule.



 4. A detailed description of all discovery that is planned to be completed within the 28-day
    period following the report, including the identity of the counsel responsible for
    completing such discovery.

 Plaintiff: Plaintiff will respond to Defendant’s Third Set of Requests for Production of Documents

 by May 16, 2022. Plaintiff also anticipates serving additional discovery requests on Defendant and

 third-parties. The status of the third-party subpoenas to SSU and Howard University remain

 pending. Attorneys Beth Fegan, Je Yon Jung, Melissa Clark, LaRuby May, and Brooke Achua are

 responsible for completing this discovery.




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 The NCAA:

           The NCAA is assessing the need for serving additional interrogatories on Plaintiff. It is

 also assessing the potential need to move to compel deficient responses from Plaintiff to the

 NCAA’s interrogatories and requests for production. The NCAA has provided Plaintiff with a

 Rule 26(f) letter and may seek to meet and confer regarding the issues raised in this letter in the

 future.

 5. A description of all known discovery remaining to be completed in this matter, including
    a proposed timetable for the completion of such discovery and the identity of the counsel
    responsible for completing such discovery.

 Plaintiff: Plaintiff anticipates substantial ongoing discovery over the course of the next several

 months, including 30(b)(6) and fact depositions including, but not limited to, members of the

 HBCU Academic Advisory Group, NCAA’s corporate witnesses and 30(b)(6) witnesses, NCAA

 corporate and fact witnesses related to the APP and its various iterations, other fact witnesses,

 and expert witnesses (once disclosed). Plaintiff expects to provide further detail in this regard as

 discovery progresses and complete discovery responses are received from Defendant. Attorneys

 Elizabeth Fegan, Je Yon Jung, Melissa Clark, LaRuby May, and Brooke Achua are responsible for

 this matter.

 The NCAA:

           The NCAA will depose Plaintiff after both parties have completed their document

 productions and written discovery.

           The NCAA may depose one or more representatives of Savannah State University;

 however, a review of the subpoenaed documents from this institution (which remain forthcoming),

 will inform that decision. The NCAA also anticipates depositions of other third-party fact

 witnesses.



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           The NCAA anticipates taking expert discovery regarding liability, damages and class

 certification issues. The parties are negotiating a timeframe to complete expert discovery that they

 intend to jointly present to the Court. The NCAA’s counsel, Chisara Ezie-Boncoeur and Brian

 Casey, are responsible for developing the NCAA’s discovery plan.

 6. Any other discovery issues any party believes should be brought to the attention of the
    Court so as to avoid any further delays in the completion of discovery in this matter.

 Plaintiff: None

 The NCAA: None.


     DATED: May 2, 2022                             Respectfully submitted,

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     Mr. Vital can be contacted at Barnes & Thornburg LLP’s Dallas, Texas office.
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document

 has been filed using this court’s ECF system and counsel of record for all parties will be served

 accordingly.

                                                       /s/ Je Yon Jung
                                                      Je Yon Jung




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